           Case 1:20-cv-10974-IT Document 10 Filed 08/24/20 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



DMITRIY ZUBOV, Individually and on
Behalf of All Others Similarly Situated,

                   Plaintiff,

v.                                                    CIVIL ACTION NO. 1:20-cv-10974-IT

RADIUS GLOBAL SOLUTIONS, LLC,

                   Defendant.


                  CERTIFICATION REGARDING LITIGATION COSTS
                    AND ALTERNATIVE DISPUTE RESOLUTION

       Radius Global Solutions, LLC and its counsel hereby certify and attest that they have

conferred: (a) with a view toward establishing a budget for the costs of conducting the full

course and various alternative courses of the litigation; and (b) to consider the resolution of the

litigation through the use of alternative dispute resolution programs.

                                                    RADIUS GLOBAL SOLUTIONS, LLC.

                                                    By its Attorney,



                                                    /s/ John J. O’Connor
                                                    John J. O’Connor, Esq.
                                                    BBO # 555251
                                                    Peabody & Arnold
                                                    600 Atlantic Ave.,
                                                    Boston, MA 02210-2261
                                                    Phone: (617) 951-2100
                                                    joconnor@peabodyarnold.com
               Case 1:20-cv-10974-IT Document 10 Filed 08/24/20 Page 2 of 2




                                 CERTIFICATE OF SERVICE
        I, John J. O’Connor, hereby certify that I have, this 24th day of August, 2020, served the
foregoing document on all counsel of record, by causing a copy thereof, to be sent electronically
to the registered participants in this case as identified on the Notice of Electronic Filing (NEF).


                                                     /s/     John J. O’Connor
                                                     John J. O’Connor

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